
ALTENBERND, Judge.
B.A. appeals an order that adjudicates his child, J.A., dependent, and requires that he have only supervised visitation with the child. The portion of the order regarding J.A. was entered based entirely upon allegations that B.A. abused J.A.’s older half-sister. On appeal, B.A. argues, and the Department of Children and Family Services and the Guardian Ad Litem Program concede, that there was not competent, substantial evidence that the abuse of the half-sister placed J.A. at substantial risk of imminent abuse, abandonment, or neglect by B.A. See § 39.01(14)(f), Fla. Stat. (2007); R.F. v. Fla., Dep’t of Children &amp; Families (In re M.F.), 770 So.2d 1189 (Fla.2000). We agree and reverse those portions of the order on appeal related to J.A. On remand, the court shall dismiss the petition for dependency as it relates to J.A. Because the young child is currently sheltered, this court has expedit*619ed the disposition of this case, and the parties and the trial court should do likewise on remand.
CASANUEVA and KELLY, JJ., Concur.
